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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   CASE NO. 15CR2196-J

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
ARMANDO PEREZ-GONZALEZ (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice;

     the Court has granted the motion of the defendant for a judgment of
     acquittali or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

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 X__ of the offense(s) as charged in the Indictment:

     21:952 and 960i 18:2 - Importation of Heroin; Aiding and Abetting

     21:952 and 960; 18:2 -Importation of Methamphetamine; Aiding&Abetting

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 9/29/15
